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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **          *
  SILVERSTONE & DAKE’S CANAL,                  *
  INC.,                                        *
                                               *
                     Plaintiff,                *
                                                   Nos. 15-1253; 15-12538L
                                               *
             v.                                    Filed: September 28, 2018
                                               *
  UNITED STATES,                               *
                                               *
                     Defendant.                *
   * * * * * * * * * * * * * * * * **          *
                                  ORDER

        The court is in receipt of the parties’ joint stipulation to dismiss certain above-
captioned plaintiffs’ claims in the case of Flying S. Land Co., et al. v. United States, Case
No. 15-1253L. The claims associated with Parcel Numbers 074-056-24-0-20-01-002.00-
0, 074-056-24-0-20-02-001.00-0, 260014100, 360004300, and 380012500 of the above-
captioned plaintiff are, hereby, SEVERED from the case of Flying S. Land Co., et al. v.
United States, Case No. 15-1253L, and shall be reorganized, for case management
purposes, into the above-captioned case, Silverstone & Dake’s Canal, Inc. v. United
States, and assigned Case No. 15-12538L. The court DISMISSES WITHOUT
PREJUDICE the following property claims of Silverstone & Dake’s Canal, Inc.: Parcel
Numbers 074-056-24-0-20-01-002.00-0, 074-056-24-0-20-02-001.00-0, 260014100,
360004300, and 380012500. The dismissal of the above claims of the plaintiff herein shall
not affect this court’s jurisdiction over the remaining plaintiffs and properties in the case
of Flying S. Land Co., et al. v. United States, Case No. 15-1253L.


       IT IS SO ORDERED.
                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge
